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                                       IN THE UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF ARKANSAS
                                                 WESTERN DIVISION

QUENTON HARMON                                                                                                          PLAINTIFF

v.                                              CASE NO. 4:18CV00355 - JM

RILEY HAYS ROOFING and
CONSTRUCTION, LLC, et al                                                                                            DEFENDANTS

                                               INITIAL SCHEDULING ORDER

An appearance was entered by defendant(s) on June 29, 2018.

 IT IS HEREBY ORDERED that the following deadlines and proposals are in effect:

             1. RULE 26(f) CONFERENCE DEADLINE:                             September 17, 2018.

 The parties are jointly responsible for holding their Rule 26(f) conference on or before the date specified.1

             2. RULE 26(f) REPORT DUE DATE:                                 October 1, 2018.

 Consult FRCP 26(f) and Local Rule 26.1 for information to be included in the Rule 26(f) Report. The Joint Report
 should be filed with the Clerk of Court.

             3. PROPOSED TRIAL DATE:                                        September 9, 2019.2

 The case will be scheduled for BENCH TRIAL before Judge James M. Moody Jr. commencing at 9:15 a.m.
 sometime during the week as set forth above in Little Rock, Arkansas.

             4. RULE 16(b) CONFERENCE: Will be scheduled, if necessary.

 Attached is a proposed Final Scheduling Order. If the parties oppose any deadlines contained therein, please indicate
 in the Rule 26(f) Report the conflict and proposed alternative deadlines. If additional deadlines are necessitated by the
 action, the parties are directed to list any and all proposed and agreed deadlines in the Rule 26(f) report. A telephone
 conference will be scheduled within one week of the filing of the Rule 26(f) Report, if necessary as determined by the
 Court, to resolve any conflicts among the parties. The parties are advised that the Court will not extend the motions
 deadline within 75 days prior to the trial date.

 DATED: Friday, July 27, 2018
                                                                        AT THE DIRECTION OF THE COURT
                                                                        JAMES W. McCORMACK, CLERK

                                                                        By: /s/ Kacie Glenn
                                                                            Deputy Clerk


        1
          It is the responsibility of the plaintiff to serve a copy of this Initial Scheduling Order on any defendant who makes an
appearance after this order has been filed. Any party making a new claim after this order is entered is to immediately serve a copy
on any new defendant(s).
         2
           Counsel should not file a motion for continuance or send a letter to the Court if there is a conflict with the proposed trial
date, but should indicate in the Rule 26(f) Report that a conflict exists
